         Case 3:19-cr-00285-TJM Document 25 Filed 02/05/20 Page 1 of 1

                                               United States Department of Justice

                                               United States Attorney
                                               Northern District of New York

                                               100 South Clinton Street, P.O. Box 7198   Tel.: (315) 448-0672
                                               James M. Hanley Federal Building          Fax: (315) 448-0658
                                               Syracuse, New York 13261-7198




February 5, 2020




Hon. Thomas J. McAvoy
Senior U.S. District Judge
Federal Building and U.S. Courthouse
15 Henry Street
Binghamton, New York 13901

       Re:    United States v. Justin Hobbie
              19-CR-285 (TJM)

Dear Senior Judge McAvoy:

        The Government is hereby providing notice that minor victims V-1 and V-4 will be present
at the sentencing of defendant Justin Hobbie, and both wish to exercise their right to be heard.
Fed. R. Crim. P. 32(i)(4)(B); 18 U.S.C. § 3771.

                                                      Sincerely,

                                                      GRANT C. JAQUITH
                                                      UNITED STATES ATTORNEY

                                            By:       /s/ Geoffrey J.L. Brown
                                                      Geoffrey J.L. Brown
                                                      Assistant United States Attorney

cc:    Kimberly M. Zimmer, Esq.
       Karlie Hall, United States Probation Officer
